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MICHELLE R. MILLNER,
P]aintiff,
V.
Case No. 03-CV-2595-Ma
E.I. DuPONT DeNEMOURS, INC.

Defendant.

 

ORDER OF DISMISSAL WITH PREIUDICE

 

ON THIS DATE, as evidenced by the signatures of counsel below, the parties advised the
Court that this matter has been resolved by agreement Accordingly, this matter is hereby

dismissed with prejudice

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U.S. DISTRICT JUDGE SAMUEL H. MAYS

 

DATE OF ENTRY:

 

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Honorable Samuel Mays
US DISTRICT COURT

